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 8                            UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                                    No. Cr. S-03-0042-003 FCD
12               Plaintiff,
13         v.
                                                    ORDER
14   CHARLES LEE WHITE,
15               Defendant.
16                                         ---oOoo—
17
18         The Warrant for Arrest of Witness issued on May 7, 2007 as to CLIFFORD ROSA is
19   hereby WITHDRAWN.

20         IT IS SO ORDERED.
21   DATED: May 8, 2007
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23                                  _______________________________________
24                                  FRANK C. DAMRELL, JR.
                                    UNITED STATES DISTRICT JUDGE
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